  Case 23-01092-MBK               Doc     Filed 04/16/23 Entered 04/17/23 00:14:39                    Desc Imaged
                                        Certificate of Notice Page 1 of 8


      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
      Caption in compliance with D.N.J. LBR 9004-1(b)

      LOWENSTEIN SANDLER LLP
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      Telephone: (973) 597-2500                                       Order Filed on April 14, 2023
      Email: krosen@lowenstein.com                                    by Clerk
                                                                      U.S. Bankruptcy Court
                                                                      District of New Jersey
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      Co-Counsel Johnson & Johnson and
      Johnson & Johnson Holdco (NA) Inc.

      In re                                                 Chapter 11

      LTL MANAGEMENT LLC,                                   Case No. 23-12825 (MBK)

                       Debtor.1                             Honorable Michael B. Kaplan


                              ORDER FOR ADMISSION PRO HAC VICE

              The relief set forth on the following pages, numbered two (2) through and including three

     (3), is hereby ORDERED.

DATED: April 14, 2023
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                                    Certificate of Notice Page 2 of 8
  Page:          2
  Debtor:        LTL Management LLC
  Case No.:      23-12825
  Caption:       Order for Admission Pro Hac Vice

         This matter having been brought before the Court on application for an Order For

  Admission Pro Hac Vice; and the Court having reviewed the moving papers of the applicant, an

  out-of-state attorney, and considered this matter pursuant to Fed.R.Civ.Proc.78, D.N.J.

  L.Civ.R.101.1 and D.N.J. LBR 9010-1, and good cause having been shown;

         IT IS HEREBY ORDERED THAT:

         1.      Matthew E. Linder is hereby permitted to appear pro hac vice; provided that

  pursuant to D.N.J. L. Civ. R. 101.l(c)(4), an appearance as counsel of record shall be filed

  promptly by a member of the bar of this Court upon whom all notices, orders and pleadings may

  be served, and who shall promptly notify the out-of-state attorney of their receipt. Only an

  attorney at law of this Court may file papers, enter appearances for parties, sign stipulations, or

  sign and receive payments on judgments, decrees or orders.

         2.      The applicant shall arrange with the New Jersey Lawyers’ Fund for Client

  Protection for payment of the annual fee, for this year and for any year in which the out-of-state

  attorney continues to represent a client in a matter pending in this Court in accordance with New

  Jersey Court Rule 1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within twenty (20)

  days of the date of the entry of this Order.

         3.      The $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice admission

  to the District Court for the District of New Jersey shall also be payable within twenty (20) days

  of entry of this Order. Payment in the form of a check must be payable to “Clerk, USDC” and

  forwarded to the Clerk of the United States District Court for the District of New Jersey at the

  following address:



                                                    2
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  Case No.:      23-12825
  Caption:       Order for Admission Pro Hac Vice

                                       United States District Court
                                         District of New Jersey
                                 Martin Luther King, Jr. Federal Building
                                            50 Walnut Street
                                          Newark, N.J. 07102
                                  Attention: Pro Hac Vice Admissions

         4.      The applicant shall be bound by the Local Rules of the United States District Court

  for the District of New Jersey and the Local Rules of Bankruptcy Procedure for the District of

  New Jersey.

         5.      The Clerk shall forward a copy of this Order to the Treasurer of New Jersey

  Lawyers' Fund for Client Protection within 5 days of its date of entry.
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 23-12825-MBK
LTL Management LLC                                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 5
Date Rcvd: Apr 14, 2023                                               Form ID: pdf903                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 16, 2023:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
db                     + Email/Text: jkim8@its.jnj.com
                                                                                        Apr 14 2023 20:34:00      LTL Management LLC, 501 George Street, New
                                                                                                                  Brunswick, NJ 08933-0001

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 16, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 14, 2023 at the address(es) listed below:
Name                               Email Address
Adam C. Silverstein
                                   on behalf of Creditor Ad Hoc Committee of Certain Talc Claimants asilverstein@otterbourg.com awilliams@otterbourg.com

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                                   NJLitDock@gtlaw.com

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Date Rcvd: Apr 14, 2023                                        Form ID: pdf903                                                        Total Noticed: 1
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        Case 23-01092-MBK            Doc       Filed 04/16/23 Entered 04/17/23 00:14:39                                    Desc Imaged
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Date Rcvd: Apr 14, 2023                                     Form ID: pdf903                                                        Total Noticed: 1
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        Case 23-01092-MBK            Doc       Filed 04/16/23 Entered 04/17/23 00:14:39                                    Desc Imaged
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Date Rcvd: Apr 14, 2023                                     Form ID: pdf903                                                          Total Noticed: 1
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TOTAL: 82
